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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

TAI SPEAKS                                        :
                                                  :
         v.                                       : CIVIL NO. CCB-12-3196
                                                  : Criminal No. CCB-10-0336
UNITED STATES OF AMERICA                          :
                                              ...o0o...

                                        MEMORANDUM

         Tai Speaks, a federal prison inmate, was sentenced to 60 months’ incarceration by Judge

Benson E. Legg following her guilty plea to conspiracy to distribute and possess with the intent

to distribute 5 grams or more of cocaine base and 500 grams or more of cocaine hydrochloride.

The 60 months’ sentence was the statutory mandatory minimum and also the disposition agreed

to by the parties under Fed. R. Crim. P. 11(c)(1)(C). Ms. Speaks later filed a § 2255 motion

alleging ineffective assistance of counsel. The motion will be denied for the reasons explained

below.

         First, the elements of the conspiracy charge were explained to Ms. Speaks in her plea

agreement letter, which she signed, and on the record by Judge Legg in the Rule 11 proceeding.

Second, her counsel did file a motion for severance (by adopting a co-defendant’s motion), and

Judge Legg denied the motion. Third, Ms. Speaks was not entitled to application of the safety

valve, not only because of the gun she possessed but also because she did not satisfy the

requirement of providing full and truthful information to the government. Fourth, based on the

statement of facts she agreed to, she was not eligible for a minor role adjustment.

         Accordingly, she cannot show either that her court-appointed counsel was deficient in her

performance, or that any prejudice resulted from counsel’s alleged deficiency. See Strickland v.

Washington, 466 U.S. 668, 687 (1984). The record reflects that Ms. Speaks freely and



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voluntarily admitted her guilt and in exchange received the sentence she bargained for. Nor has

any prosecutorial misconduct been shown.

       Further, Ms. Speaks does not meet the criteria for a certificate of appealability under 28

U.S.C. § 2252(c).

       A separate Order follows.



January 30, 2013                                                   /s/
       Date                                         Catherine C. Blake
                                                    United States District Judge




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